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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA


   THE THOMAS L. PEARSON AND
   THE PEARSON FAMILY MEMBERS FOUNDATION,

                 Plaintiff and Counterclaim
                 Defendant,

          v.

   THE UNIVERSITY OF CHICAGO,

                 Defendant and Counterclaimant.

     AND
                                                      No. 18-CV-99-GKF-FHM
   THE UNIVERSITY OF CHICAGO,

                 Counterclaimant and Defendant,

          v.

   THE THOMAS L. PEARSON AND
   THE PEARSON FAMILY MEMBERS FOUNDATION,

                 Counterclaim Defendant and
                 Plaintiff,
                                                               This Protective Order in no
   THOMAS L. PEARSON,                                          way diminishes counsel’s ob-
                                                               ligation to comply with LCvR
                 Counterclaim Defendant.                       79.01 and G.O. 08-11.




                             STIPULATED PROTECTIVE ORDER
                                       [DKT. 50]

          The parties have informed the Court that certain documents and information have been and

   may be sought, produced or exhibited by and between the parties in this proceeding (the “Pro-

   ceeding”) and that some of these documents relate to the parties’ and non-parties’ financial in-

   formation, competitive information, or other types of sensitive information which the party
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   making the production deems confidential. It has been agreed by the parties to the Proceeding,

   through their respective counsel, that to expedite the flow of discovery material and to preserve the

   confidentiality of certain documents and information, a protective order should be entered by the

   Court. The Court has reviewed the terms and conditions of this Protective Order and the Joint

   Motion for Entry of Protective Order, [Dkt. 50], is granted. Based on the parties’ submissions, it is

   hereby ORDERED that:

   1.     Scope

          a.      This Order shall govern all documents, the information contained therein, and all

   other information produced or disclosed during the Proceeding whether revealed in a document,

   deposition, other testimony, discovery response or otherwise, by any party, including any

   non-party, in this Proceeding (the “Supplying Party”) to any other party, including any non-party,

   (the “Receiving Party”), when same is designated with the procedures set forth herein. This Order

   is binding upon the parties to the Proceeding, including their respective corporate parents, sub-

   sidiaries and affiliates as well as their respective attorneys, agents, representatives, officers and

   employees and others as set forth in this Order. This Order is also binding on and applies to all

   non-parties who either produce or receive documents or information in connection with this

   Proceeding.

          b.     Under this Order, any Supplying Party shall have the right to identify and designate

   as “Confidential” any document or other information it produces or provides, or any testimony

   given in this Proceeding, which testimony or discovery material is believed in good faith by that

   Supplying Party, and by the Supplying Party’s counsel, to constitute, reflect or disclose trade se-

   cret or other confidential research, development, commercial information or financial information,

   or other types of sensitive information as contemplated under Rule 26(c) of the Federal Rules of

   Civil Procedure (“Designated Material”).
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             c.   “Confidential Information” as used herein means any Designated Material that is

   designated pursuant to this Protective Order as “Confidential” by the Supplying Party, whether it is

   a document, information contained in a document, information revealed during a deposition or

   other testimony, information revealed in an interrogatory answer or information otherwise re-

   vealed.

             d.   A party may designate as “Confidential” information in the possession of and sup-

   plied by a non-party if the information was transmitted to the non-party under an agreement or an

   obligation that it would remain confidential and the information otherwise complies with Para-

   graph 1(c).

             e.     Subject to paragraph 11(c), all documents and other materials produced in this

   litigation shall be used only for purposes of this litigation whether or not a Supplying Party des-

   ignates such documents or materials as “Confidential.”

   2.        Designation of Confidentiality

             Documents or information may be designated CONFIDENTIAL within the meaning of

   this Order in the following ways:

             a.   Specific documents produced by a Supplying Party shall, if appropriate, be desig-

   nated as “Confidential” by marking the first page of the document and each subsequent page

   thereof containing Confidential Information with the legend: “CONFIDENTIAL” or “CONFI-

   DENTIAL-SUBJECT TO PROTECTIVE ORDER.”

             b.   In the case of interrogatory answers and responses to requests for admissions, if ap-

   propriate, designation of Confidential Information shall be made by means of a statement in the

   answers or responses specifying that the answers or responses or specific parts thereof are des-

   ignated “CONFIDENTIAL.” The following legend shall be placed on each page of interrogatory

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   answers or responses to requests for admission containing Confidential Information: “CONTAINS

   CONFIDENTIAL INFORMATION.”

          c.    In the case of depositions and the information contained in depositions (including

   exhibits), designation of the portions of the transcript (including exhibits) which contain Confi-

   dential Information shall be made by a statement to such effect on the record in the course of the

   deposition by counsel for the party or witness producing such information, or by letter from such

   counsel within thirty (30) days of receipt of the official deposition transcript or copy thereof (or

   written notification that the transcript is available). The entire deposition transcript (including

   exhibits) shall be treated as Confidential under this Order until the expiration of the

   above-referenced thirty-day period for designation by letter, except that the deponent may review

   the transcript of his or her own deposition during this thirty-day period. After the expiration of the

   thirty (30) day period, the following legend shall be conspicuously placed on the front and back of

   any original deposition transcript, and on each copy thereof, which contains Confidential Infor-

   mation: “CONTAINS CONFIDENTIAL INFORMATION.” If portions of a video recorded

   deposition are designated as “CONFIDENTIAL,” the videocassette or other videotape container

   shall be labeled with the same legend provided for in paragraph 2(a).

          d.    To the extent that matter stored or recorded in the form of electronic or magnetic

   media (including information, files, databases, or programs stored on any digital or analog ma-

   chine-readable device, computers, discs, networks or tapes) (“Computerized Material”) is pro-

   duced by any party in such form, the Supplying Party may designate such matter as “CONFI-

   DENTIAL” by cover letter referring generally to such matter or by affixing to such media a label

   with the legend provided for in paragraph 2(a) above. Whenever any party to whom Computerized



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   Material designated as “CONFIDENTIAL” is produced reduces such material to hard-copy form,

   such party shall mark such hard-copy form with the legend provided for in paragraph 2(a) above.

          e.    To the extent that any party or counsel for any party creates, develops or otherwise

   establishes on any digital or analog machine-readable device, recording media, computer, disc,

   network, tape, file, database or program information designated CONFIDENTIAL, that party

   and/or its counsel must take all necessary steps to ensure that access to such media is properly

   restricted to those persons who, by the terms of this Order, may have access to Confidential In-

   formation.

          f.    The filing of any documents and materials with the Court containing or reflecting the

   contents of Confidential Information shall be governed by LCvR 79.1 and Northern District

   General Order 08-11. NO SEALED FILINGS SHALL BE MADE PRIOR TO: (1) THE FILING

   OF A MOTION PURSUANT TO LCvR 79.1, AND (2) AN ORDER GRANTING SUCH MO-

   TION. The LCvR 79.1 motion shall be filed at least two full business days prior to the date on

   which the proposed sealed filing is to be made. If the LCvR 79.1 motion is granted, and to the

   extent not inconsistent with rule 79.1 and G.O. 08-11, such documents and materials shall be la-

   beled “CONFIDENTIAL INFORMATION - SUBJECT TO COURT ORDER” and shall also bear

   the legend “FILED UNDER SEAL” on the cover page of the document. Only those portions of

   such documents and materials containing or reflecting Confidential Information shall be consid-

   ered Confidential and may be disclosed only in accordance with this Order. Each party shall use its

   best efforts to minimize filings that necessitate the filing of documents and materials designated

   Confidential under seal. No party or other person may have access to any sealed document from

   the files of the Court without an order of the Court. This provision does not relieve the filing party

   of serving the document on other parties in accordance with ordinary procedures established by the

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   civil and local rules or Court order. Regardless of any provision in this Order to the contrary, a

   party does not have to file a document under seal if the Confidential Information contained or

   reflected in the document was so designated solely by that party.

          g.    Documents filed under seal may be unsealed at the Court’s discretion.

   3.     Use of Confidential Information

          Subject to Paragraph 11(c), Confidential Information shall not be used by any person, other

   than the Supplying Party, for any purpose other than conducting this Proceeding, The Thomas L.

   Pearson and The Pearson Family Members Foundation v. The University of Chicago (Case No.

   18-CV-99-GKF-FHM), pending in the United States District Court for the Northern District of

   Oklahoma, and in no event shall such information be used for any business, competitive, personal,

   private, public or other purpose.

   4.     Disclosure of Confidential Information

          a.      The attorneys of record are responsible for employing reasonable measures, con-

   sistent with this Order, to control access to, and distribution of information designated “CON-

   FIDENTIAL” pursuant to this Order.

          b.    Subject to Paragraph 6 below, access to information designated “CONFIDENTIAL”

   pursuant to this Order shall be limited to the following persons:

                  i.      The parties, including outside and in-house counsel for the parties, as well

                          as members and employees of their firms including but not limited to their

                          paralegals, investigative, secretarial and clerical personnel who are em-

                          ployed by and engaged in assisting such counsel in this Proceeding.

                  ii.     Outside photocopying, data processing or graphic production services

                          employed by the parties or their counsel to assist in this Proceeding.

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               iii.   Any outside expert or consultant (or any employee of such outside expert

                      or consultant) who is retained, or sought to be retained, by counsel for a

                      party in this Proceeding, for purposes of consulting, and/or testifying in

                      this Proceeding, and to whom counsel in good faith has deemed disclosure

                      of such “CONFIDENTIAL” material is reasonably necessary in order to

                      assist in the preparation or the conduct of this Proceeding. This paragraph

                      shall not relieve, change or otherwise affect any obligations or limitations

                      imposed on any person by contract or law regarding the disclosure or use

                      of trade secrets or other confidential or proprietary information.

               iv.    Five (and no more than five) directors, officers, employees or other rep-

                      resentatives of a party or its corporate parent whose review of the specific

                      Confidential Information is reasonably necessary to assist in the prosecu-

                      tion or defense of this Proceeding. However, a party that originally des-

                      ignated information as “CONFIDENTIAL” may reveal such information

                      to any of its own directors, officers, employees or other representatives.

               v.     Any fact witness, at the witness’ deposition in this Proceeding, but only if

                      counsel who discloses “CONFIDENTIAL” information to the witness

                      determines, in good faith, that such disclosure is reasonably necessary and

                      appropriate to assist in the conduct of this Proceeding.

               vi.    Any person (a) who was involved in the preparation of the document or

                      other tangible medium containing the Confidential Information and/or

                      who is shown on the face of “CONFIDENTIAL” material to have au-

                      thored or received the “CONFIDENTIAL” material sought to be dis-

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                          closed to that person, or (b) who is specifically referenced by name and

                          substantively discussed in the “CONFIDENTIAL” material, but only as to

                          the specific material the person authored or received, or in which such

                          person is referenced and discussed.

                  vii.    This Court or any other Court exercising jurisdiction with respect to this

                          litigation, Court personnel, jurors, and qualified persons (including nec-

                          essary clerical personnel) recording, taking or transcribing testimony or

                          argument at any deposition, hearing, trial or appeal in this litigation; and

                  viii.   Any other person to whom the Supplying Party agrees in writing or on the

                          record in advance of the disclosure, provided that the party seeking to

                          make the disclosure must first submit a request, in writing or on the rec-

                          ord, to the Supplying Party explaining why the disclosure is necessary. If

                          the Supplying Party does not agree to allow the disclosure, the party

                          seeking to make the disclosure may file a motion with the Court for ap-

                          proval to make the disclosure.

   5.     Notification of Protective Order

          Confidential Information shall not be disclosed to a person described in paragraphs

   4(b)(iii), 4(b)(iv), 4(b)(v), 4(b)(viii) unless and until such person has executed an Agreement of

   Confidentiality in substantially the form attached hereto as Exhibit A. The originals of an executed

   Agreement of Confidentiality shall be maintained by counsel for the party who obtained it until the

   final resolution of this litigation, and shall not be subject to discovery except upon motion on no-

   tice and a showing of good cause. This prohibition includes either direct or indirect disclosure,



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   including but not limited to, any disclosure by counsel or experts. At any deposition and absent the

   agreement of the parties, prior to the disclosure of any Confidential Information and/or Highly

   Confidential Information, the deponent shall be provided a copy of the form attached hereto as

   Exhibit B and shall be asked to affirmatively state on the record that he or she has received the

   form and consents to the restrictions contained within the Stipulated Protective Order, a copy of

   which shall be provided to the deponent.

   6.     Use of Confidential Information at Trial

          The rules and procedures governing the use of Confidential Information at trial shall be

   determined by the Court at the final pretrial conference.

   7.     Objections to Designations

          a.      A party may, at any time, make a good faith challenge to the propriety of a Con-

   fidential Information designation. In the event a party objects to the designation of any material

   under this Order, the objecting party shall consult with the designating party to attempt to resolve

   their differences. If the parties are unable to reach an accord as to the proper designation of the

   material, after giving notice to the designating party, the objecting party may apply to the Court

   for a ruling that the material shall not be so designated. If such a motion is made, the designating

   party has the burden of establishing that the designation is proper. If no such motion is made, the

   material will retain its designation. Any documents or other materials that have been designated

   “CONFIDENTIAL” shall be treated as Confidential until such time as the Court rules that such

   materials should not be treated as Confidential.




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    8.      Preservation of Rights and Privileges

            Nothing contained in this Order shall affect the right, if any, of any party or witness to

    make any other type of objection, claim, or other response to discovery requests, including,

    without limitation, interrogatories, requests for admissions, requests for production of documents

    or questions at a deposition. Nor shall this Order be construed as a waiver by any party of any

    legally cognizable privilege to withhold any Confidential Information other than on the basis that

    it has been designated Confidential, or of any right which any party may have to assert such

    privilege at any stage of this litigation.

            In the event that one of the law firms that is counsel of record in this action learns or

    discovers that a document subject to immunity from discovery on the basis of the attorney-client

    privilege, work product, or other valid basis has been produced inadvertently, counsel shall use

    best efforts to notify the Receiving Party or parties in writing within thirty (30) days after so

    learning or discovering that such inadvertent production has been made. The inadvertently dis-

    closed documents and all copies thereof if subject to a valid claim of privilege, shall be returned

    to the Producing Party or permanently deleted. If a dispute arises regarding whether the inad-

    vertently disclosed document is subject to a valid claim of privilege, the Receiving Party’s

    counsel shall sequester the document until the Court has determined, in camera, that the docu-

    ment is subject to production. Sequestration shall mean that the document may be viewed only by

    counsel and shall not be utilized in any deposition or filing or for any other purpose other than for

    a sealed, in camera submission regarding the claim of privilege. If, after an in camera review, the

    Court determines the document is privileged, the Receiving Party shall immediately return or

    permanently delete the document. The Receiving Party shall not, without good cause shown,

    seek an order compelling production of the inadvertently disclosed documents on the ground that

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    Producing Party has waived or is otherwise estopped from asserting the applicable privilege or

    immunity on the basis that the document has been voluntarily produced. Such inadvertent dis-

    closure shall not result in the waiver of any associated privilege. Counsel shall cooperate to re-

    store the confidentiality of any such inadvertently produced information.

    9.        Return or Destruction of Materials

              Within sixty business days after the final resolution of this litigation, all Confidential

    Information shall be returned to counsel for the party or non-party that produced it or shall be

    destroyed. As to those materials that contain or reflect Confidential Information, but that con-

    stitute or reflect counsel’s work product, counsel of record for the parties, or non-parties, shall be

    entitled to retain such work product in their files in accordance with the provisions of this Order,

    so long as it is clearly marked to reflect that it contains information subject to this Order. Such

    materials may not be used in connection with any other proceeding or action. Counsel shall be

    entitled to retain pleadings, affidavits, motions, briefs, other papers filed with the Court, depo-

    sition transcripts, and the trial record (including exhibits) even if such materials contain Confi-

    dential Information, so long as such materials are clearly marked to reflect that they contain

    information subject to this Order and may not be used in connection with any other proceeding or

    action.

    10.       Inadvertent or Unintentional Disclosure

              A Supplying Party that inadvertently fails to designate discovery material as “Confiden-

    tial” or mis-designates discovery material as “Confidential” or pursuant to this Order at the time

    of its production shall be entitled to make a correction to its designation within a reasonable time

    of the discovery of the non- or mis-designation. Such correction and notice thereof shall be made

    in writing, accompanied by substitute copies of each item of discovery material, appropriately

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    designated. Those individuals who received the discovery material prior to notice of non- or

    mis-designation by the Supplying Party shall within five (5) days of receipt of the substitute

    copies, take reasonable steps to destroy or return to the law firm representing the Supplying Party

    all copies of such mis-designated documents. The obligation to treat such material pursuant to the

    corrected designation shall be prospective only, and those individuals who reviewed the

    mis-designated discovery material prior to notice of the mis-designation by the Supplying Party

    shall abide by the provisions of this Order with respect to all future use and disclosure of any

    information contained in the mis-designated materials.

    11.     Other Provisions

            a.      The restrictions set forth in this Order shall not apply to documents or information

    designated Confidential that are publicly available or that are obtained independently and under

    rightful means by the Receiving Party, unless they became so due to a violation of this Order.

            b.      A party’s compliance with the terms of this Order shall not operate as an admis-

    sion that any particular document is or is not (a) confidential, (b) privileged or (c) admissible in

    evidence at trial.

            c.      Any party or person in possession of Confidential Information who receives a

    subpoena (or other process) from any person (including natural persons, corporations, partner-

    ships, firms, governmental agencies, departments or bodies, boards or associations) who is not a

    party to this Order, which subpoena seeks production or other disclosure of such Confidential

    Information shall immediately give written notice by electronic mail to counsel for the other

    party or person who produced the materials designated as Confidential. The written notice shall

    identify the materials sought and enclose a copy of the subpoena or other process, unless ordered

    otherwise by a court of competent jurisdiction. Nothing herein shall be construed to obligate the

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    person subject to service or other process to make a motion or undertake other legal process, or to

    appear before any court or administrative body in opposition to a motion or other legal process

    seeking production of any Confidential materials, provided such person invokes, to the extent

    reasonably possible, the highest level of confidentiality available under applicable law, rule,

    regulation, court order, or other compulsory process, at the time of disclosure of such Confi-

    dential materials.

            d.      This Order shall apply to non-parties who provide discovery, by deposition,

    production of documents or otherwise, in this litigation, if said non-party requests, in writing, the

    protection of this Order as to said non-party’s Confidential Information and complies with the

    provisions of this Order.

            e.      Upon the final resolution of this litigation (including conclusion of any appeal),

    this Order shall remain in effect and continue to be binding, unless expressly modified, super-

    seded, or terminated by consent of all parties or by Order of the Court. This Court expressly

    retains jurisdiction over this action for enforcement of the provisions of this Order following the

    final resolution of this litigation.

            f.      This Order shall not prevent a party from applying to the Court for relief there-

    from, or from applying to the Court for further or additional protective orders, or from agreeing

    to modifications of this Order, subject to the approval of the Court.

            g.      The Court may amend, modify or dissolve this Protective Order at any time.

            IT IS SO ORDERED this 13th day of August, 2018.




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                                    EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA


    THE THOMAS L. PEARSON AND
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                 Defendant and Counterclaimant.

         AND
                                                   No. 18-CV-99-GKF-FHM
    THE UNIVERSITY OF CHICAGO,

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    THE THOMAS L. PEARSON AND
    THE PEARSON FAMILY MEMBERS FOUNDATION,

                 Counterclaim Defendant and
                 Plaintiff,
                                                            This Protective Order in no
    THOMAS L. PEARSON,                                      way diminishes counsel’s ob-
                                                            ligation to comply with LCvR
                 Counterclaim Defendant.                    79.01 and G.O. 08-11.




                                       CERTIFICATION

    1.     My name is ___________________________________________________.

    I live at ____________________________________________________________.

    I am employed as (state position) ________________________________________

    by (state name and address of employer) __________________________________.
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    2.     I have read the Confidentiality Order that has been entered in this case, and a copy of it

    has been given to me. I understand the provisions of this Order, and agree to comply with and to

    be bound by its provisions.

    3.     I declare under penalty of perjury that the foregoing is true and correct.



    Executed this _________ day of _______________, 200___

                                                 by__________________________
                                                       (signature).
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                                    EXHIBIT B
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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA


    THE THOMAS L. PEARSON AND
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    THE THOMAS L. PEARSON AND
    THE PEARSON FAMILY MEMBERS FOUNDATION,

                   Counterclaim Defendant and
                   Plaintiff,
                                                                   This Protective Order in no
    THOMAS L. PEARSON,                                             way diminishes counsel’s ob-
                                                                   ligation to comply with LCvR
                   Counterclaim Defendant.                         79.01 and G.O. 08-11.




                              NOTICE TO DEPOSITION WITNESSES

           You are being shown one or more documents which have been designated as “Confi-

    dential” pursuant to an Order of this Court. Except for providing testimony at this deposition, you

    may not disclose these documents or their contents to any person other than the attorney who

    represents you at this deposition. Further, neither these documents nor their contents may be used
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    by you for any purpose except that you may use them for your testimony in connection with this

    litigation. In any event, you are prohibited from using them for any business, competitive, per-

    sonal, private, public, or other non-litigation purpose. The improper disclosure or use of these

    documents or their contents may result in the imposition of sanctions upon you by the Court. If

    you wish a complete copy of the Court Order, a copy will be provided to you upon request.
